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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


GERARD TRAVERS, on behalf of himself
and all others similarly situated,

                     Plaintiff,

-vs.-                                        Civil Action No. 2:19-cv-06106-MAK

FEDERAL EXPRESS CORPORATION,

                     Defendant.



   DEFENDANT’S PHASE ONE MEMORANDUM OF LAW IN SUPPORT OF ITS
                 MOTION FOR SUMMARY JUDGMENT


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                                        INTRODUCTION

       Plaintiff Gerard Travers claims that Defendant Federal Express Corporation (“FedEx”)

violated § 4316(b) of the Uniformed Services Employment and Reemployment Rights Act

(“USERRA”), because it offered him paid sick leave, jury duty, and bereavement, but did not

pay him during periods of “short-term military leave” between October 2004 and July 2010.

While military leave is not comparable to sick leave, jury duty, or bereavement under § 4316(b),

this Court need not conduct that analysis for two threshold reasons that entitle FedEx to

summary judgment.

       First, FedEx’s leave records show that Plaintiff did not take any “short-term military

leave” during the period in question. Plaintiff cannot dispute the accuracy of those records.

Their completeness was established as part of a class-action settlement in which Plaintiff

participated. Plaintiff, as a member of the settlement class, was sent a class notice attaching his

military leave record and informing him of his right to supplement that record if he believed it

was incorrect. Although Plaintiff read the notice and even contacted the plaintiffs’ attorneys

litigating that case (the same attorneys representing Plaintiff here), he did not do so. Instead, he

participated in the settlement based on FedEx’s leave records.

       Because FedEx’s leave records foreclose his claim, Plaintiff attempts to backtrack. He

now contends that FedEx’s records are not “reliable.” But he is barred from changing his

position. For one, Plaintiff agreed, as part of the Cunningham settlement, to release any claims

arising out of or relating to FedEx’s alleged “failure to capture pre-2019 Military Leave data.”

Yet here, his claim requires exactly that—to prevail, he must prove that FedEx “fail[ed] to

capture pre-2019 Military Leave data.” For another, Plaintiff has argued to this Court that

FedEx’s leave records are a reliable way to determine when putative class members took military

leave. In his words, “damages will focus on the leave class members took,” and “[t]his


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information is currently available” in the form of “comprehensive records” from the class-action

settlement. And finally, Plaintiff is barred by the equitable doctrine of waiver from contesting

the Cunningham leave records because he knowingly and voluntarily waived his right to

supplement or contest those records.

       But even assuming for the sake of argument that he is not barred from challenging

FedEx’s records, Plaintiff’s argument only underscores the second ground that entitles FedEx to

summary judgment: laches. This Court held at the dismissal stage that FedEx’s laches argument

was premature, so it instructed the parties to conduct early discovery “with the hope we may

promptly resolve the laches defense.” Travers v. FedEx Corp., 2021 WL 4860737, at *7 (E.D.

Pa. Oct. 19, 2021). Discovery has confirmed that Plaintiff inexcusably delayed bringing suit and

that FedEx would suffer both evidentiary and economic prejudice.

       There is little question that Plaintiff inexcusably delayed bringing suit. As this Court

previously observed, Plaintiff’s “delay appears unduly lengthy.” Travers, 2021 WL 4860737, at

*7. And discovery has now confirmed that Plaintiff has no legitimate excuse—nor any excuse

for that matter—for his extraordinarily lengthy delay. Discovery has also made clear that FedEx

would be significantly prejudiced if Plaintiff were permitted to bring his stale claims. To start,

there is no fair way for FedEx to defend against Plaintiff’s claim that he took “short-term

military leave.” FedEx has no record of him taking “short-term military leave” between October

2004 and July 2010. And Plaintiff’s supervisors at FedEx likewise have no recollection. This is

thus a paradigmatic case of laches, which is meant to prevent the inequity of litigating stale

claims when records have been lost and memories faded, thus impairing a defendant’s ability to

present a full and fair defense. This is also a clear case of economic prejudice. To take just one

example, Plaintiff’s decades-long delay denied FedEx the opportunity to change its leave




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policies in a way that would have minimized (or eliminated) its alleged paid military leave

obligation—for example, by reducing (or eliminating) the amount of paid sick leave it provides.

Plaintiff told the Third Circuit that employers like FedEx should have that “choice,” when

arguing for the Third Circuit to adopt his interpretation of USERRA. But Plaintiff denied FedEx

that very “choice” by waiting decades to file suit, thus causing FedEx’s potential liability to

mount.

         For these reasons, and as explained in detail below, the Court should grant FedEx’s

motion for summary judgment.

                                                BACKGROUND

         Plaintiff has worked as a courier for FedEx since January 1996. Statement of Undisputed

Material Facts (“SUMF”) ¶ 1. Plaintiff also served in the United States Navy and Naval Reserve

from 1990 until his retirement from the military in July 2010. Id. ¶ 3. Plaintiff alleges that, from

October 2004 through July 2010, FedEx violated USERRA § 4316(b) by providing paid sick

leave, jury-duty leave, and bereavement leave, but not paid “short-term military leave.” See Dkt.

84 ¶ 54. In his complaint, Plaintiff defines “short-term military leave” as leaves that last 30 days

or less, but Plaintiff has since stated on multiple occasions that “short-term military leave” means

14-days or fewer. See id. ¶ 11; Appendix (“Appx.”) at 131a-32a; id. at 232a 109:16-24. In any

event, regardless of whether “short-term military leave” is defined as 30 days or 14 days, FedEx

has no record of Plaintiff taking a military leave of absence for either. See SUMF ¶ 9. 1

         FedEx’s leave records were verified as recently as 2019 as part of a USERRA class

settlement in which Plaintiff participated as a class member. In Cunningham v. Federal Express


1
  FedEx’s records show that Plaintiff took longer military leaves, but even Plaintiff does not allege that such longer
leaves are comparable under § 4316(b) to jury duty, sick leave, or bereavement. Plaintiff also claims to have
performed weekend drills with the military during the relevant period, but those would not be (and are not) reflected
in FedEx’s leave record for the simple reason that Plaintiff would not have been on leave from FedEx for that


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Corporation, 3:17-cv-00845 (M.D. Tenn.), the plaintiffs alleged that FedEx’s military-leave

policies violated USERRA § 4318 because FedEx failed to accurately impute earnings for

periods of military leave when calculating employees’ pension benefits. See SUMF ¶ 10; see

also 38 U.S.C. § 4318(b)(3). Cunningham ultimately settled, and a settlement class of FedEx

employees who took military leave between January 1, 1996 to December 31, 2018 was

certified. SUMF ¶ 11.

        As a case about military leave, FedEx’s leave records played a critical role in the

settlement. See Dkt. 36 at 19-20 (Plaintiff arguing to this Court that “FedEx produced

comprehensive records on when its workers took military leave since 1996 and used those

records to calculate the class members’ damages”). The parties agreed that the class notice

would advise class members of “the Class Period Military Leaves used to calculate their imputed

earnings.” Appx. at 52a; see also SUMF ¶ 13. The settlement then provided a mechanism for

class members to challenge FedEx’s military leave records: they were given 90 to 180 days to

identify “any additional Class Period Military Leaves and provid[e FedEx] and the Settlement

Administrator with copies of military orders or other official supporting documentation.” Appx.

at 54a-55a; see also SUMF ¶ 14. If a class member challenged FedEx’s records, the Settlement

Administrator would “forward requests to supplement Military Leave dates to [FedEx], who will

have 30 days from receipt to provide relevant documentation showing the Class Member did not

take unpaid military leave on those dates. Any dispute between a Class Member and” FedEx

was to be resolved by the Settlement Administrator. Appx. at 55a; see also SUMF ¶ 15.




service: weekend drills were on weekends, when Plaintiff was not scheduled to work. See SUMF ¶ 2. Accordingly,
Plaintiff testified that he did not inform his supervisors when he was doing weekend drills. See Appx. at 222a
66:19-69:16 (“I wouldn’t actually notify them, listen, I have Reserves this weekend because I wasn’t obligated to
work on a Saturday or Sunday.”); id. at 223a 70:10-20 (“I wouldn’t call that a leave of absence. I would say that’s
my time. My shift was Monday through Friday. You know, my time is Saturday and Sunday.”).


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       As required, FedEx compiled its leave records and notice was sent to all class members,

including Plaintiff. See SUMF ¶ 16. Plaintiff’s notice “identified [his] Class-Period Military

Leaves,” and informed him of his “right to identify any Military Leave dates not reflected on the

attachment.” Appx. at 9a; see also SUMF ¶ 17. In his deposition, Plaintiff testified that he not

only “read” the class notice in Cunningham, but that he contacted his counsel, who are the same

lawyers representing him here. Appx. at 255a 198:3-25; see also SUMF ¶ 19.

       Plaintiff, however, did not challenge or otherwise dispute the accuracy of FedEx’s leave

records, nor attempt to supplement them. Instead, he participated in the settlement on the basis

of FedEx’s military leave records—which, again, show that Plaintiff did not take any “short-term

military leave” between 2004 and 2010. In exchange for that recovery, Plaintiff released any

claim arising out of or relating to FedEx’s “failure to capture pre-2019 Military Leave data.”

Appx. at 43a ¶ DD; see also SUMF ¶ 21.

       Yet Plaintiff now contends that FedEx’s records are not “reliable.” Appx. at 256a 202:8-

15; see also SUMF ¶ 22. In particular, he claims—contrary to FedEx’s records that he

previously agreed with—that he actually did take “short-term military leave” at some point in

2009 and 2010. Appx. at 279a 297:8-14; see also SUMF ¶ 22. According to Plaintiff, the best

way to verify his claim would be to check his military “orders.” Appx. at 256a 203:16-204:15.

But because Plaintiff delayed so long before bringing suit, he no longer has those orders: “they

have been lost” over time. Appx. at 229a 96:17-25; see also SUMF ¶ 27. To fill this gap,

Plaintiff attempted to request his records from the National Personnel Records Center (“NPRC”)

but the NPRC was “unsuccessful in identifying a military service record” for Plaintiff. Appx. at

91a; see also SUMF ¶ 30. Plaintiff also attempted to subpoena records from the Department of

Defense (“DOD”), but DOD’s records do not show whether or when Plaintiff allegedly took




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“short-term military leave.” Appx. at 144a (Plaintiff’s counsel explaining DOD’s records were

not “relevant to the claims in this case”). 2 Moreover, Plaintiff cannot recall what days he

allegedly took “short-term military leave” or for how long. See SUMF ¶ 23. And he has no

record of telling his supervisors at FedEx that he was taking military leave, see id. ¶ 24, and

those supervisors have no recollection regarding when he took military leave, see id. ¶¶ 25-26.

                                                  ARGUMENT

         Summary judgment is appropriate when “there is no genuine issue as to any material fact

and … the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(a). A

court must enter summary judgment “against a [non-moving] party who fails to make a showing

sufficient to establish the existence of an element essential to that party’s case, and on which that

party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986);

Equimark Commercial Fin. Co. v. C.I.T. Fin. Servs. Corp., 812 F.2d 141 (3d Cir. 1987). For

affirmative defenses (like laches) where the burden is on the moving party, summary judgment is

warranted where no reasonable factfinder could find for the non-moving party. In re Bressman,

327 F.3d 229, 237-38 (3d Cir. 2003); see also U.S. ex rel. Bauchwitz v. Holloman, 671 F. Supp.

2d 674, 693 (E.D. Pa. 2009). 3 “[S]ubsequent self-serving deposition testimony is insufficient to




2
  Plaintiff has moved to compel DOD to produce responsive documents, requesting that such documents be
produced by March 11. See Travers v. Fed. Exp. Corp., No. 1:22-cv-0053 (D.D.C.). DOD’s production of
documents would not in any way alter the outcome of this motion, see infra at 15 n.6, but Plaintiff’s proposed
schedule—where he receives records in the middle of summary judgment briefing, after FedEx has filed its initial
motion—is prejudicial on its face.
3
  The Court directed the parties to address the burden of proof. See Travers, 2021 WL 4860737, at *50 n.50. FedEx
bears the burden of proving unreasonable delay and prejudice. But Plaintiff “bear[s] the burden of explaining [his]
delay in bringing suit.” Miller v. City of Indianapolis, 281 F.3d 648, 653 (7th Cir 2002); see also K. Piscitelly & E.
Still, The USERRA Manual § 8.6. Some cases under USERRA’s predecessor statutes held that a delay in excess of
an analogous limitations period gave rise to a presumption of laches, effectively placing the burden of disproving
laches on the plaintiff. See Gruca v. U.S. Steel Corp., 495 F.2d 1252, 1260 (3d Cir. 1974). The Court need not
resolve whether this analytical framework still applies under USERRA, because FedEx has affirmatively
demonstrated laches—and thus carried any burden it might have—as explained below.


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raise a genuine issue of material fact.” Irving v. Chester Water Auth., 439 F. App’x 125, 127 (3d

Cir. 2011).

I.     FEDEX’S RECORDS ESTABLISH THAT PLAINTIFF DID NOT TAKE
       “SHORT-TERM MILITARY LEAVE” DURING THE RELEVANT PERIOD
       AND PLAINTIFF SHOULD BE BARRED FROM ARGUING OTHERWISE

       Plaintiff alleges that USERRA § 4316(b) required FedEx to pay him during periods of

“short-term military leave” because it provided other types of paid leave, like paid sick and

bereavement leave. The problem for Plaintiff is that FedEx’s leave records show that he did not

take “short-term military leave” (regardless of whether defined as 30 days or less or 14 days or

less, supra at 3) between October 2004 and his retirement from the military in July 2010. This is

both a jurisdictional and merits defect. Plaintiff lacks Article III standing because he was not

injured by the FedEx policy—i.e., not providing paid “short-term military leave”—that he

challenges. See, e.g., TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2204 (2021); Lovell v.

Consol. Edison Co. of N.Y. Inc., 758 F. App’x 222, 224 (2d Cir. 2019) (USERRA plaintiff lacked

standing absent “lost wages or benefits attributable to [defendant’s] discriminatory treatment”).

And Plaintiff’s § 4316(b) claim fails on the merits because he was not denied a benefit during

“short-term military leave” that FedEx provides to employees on comparable civilian leaves

because Plaintiff did not take any such leave.

       FedEx’s records conclusively show that Plaintiff did not take “short-term military leave”

between October 2004 and July 2010. FedEx maintains these records in the ordinary course of

business, Appx. at 204a 120:3-20, and Plaintiff cannot be heard to challenge their accuracy now.

In fact, these very same records formed the basis for Plaintiff’s participation in the Cunningham

class. As explained above, supra at 3-5, the Cunningham case alleged that FedEx failed to

accurately impute earnings for periods of military leave when calculating employees’ pension

benefits. As a Cunningham class member, Plaintiff was sent a tailored notice attaching his


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military-leave record and explaining his right to supplement that record if he believed it was

inaccurate. SUMF ¶¶ 16-19. Plaintiff admits he received and read the notice. id. ¶ 19. He even

contacted the attorneys litigating that case. Id. But Plaintiff did not dispute the accuracy of

FedEx’s records, so his recovery from FedEx as part of the Cunningham class was calculated

based on those records. Id. ¶ 20. And, as a Cunningham class member, Plaintiff agreed to

release “any and all actual or potential claims or causes of action for any relief, damages,

penalties, attorneys’ fees, expenses, or costs, that arise out of or relate to (i) the Defendants’ pre-

2019 methods for imputing earnings to Class-Period Military Leaves or (ii) Defendants’ failure

to capture pre-2019 Military Leave data, including the claims asserted in the Litigation.” Appx.

at 43a ¶ DD (emphasis added); see also SUMF ¶ 21.

        This release expressly bars Plaintiff’s claims under ordinary contract principles. See

United States v. Struble, 489 F. App’x 599, 602 (3d Cir. 2012). FedEx’s records show that

Plaintiff did not take “short-term military leave” during the period in question. Thus, to prevail,

Plaintiff must prove that FedEx’s records are unreliable—i.e., that FedEx “fail[ed] to capture

pre-2019 Military Leave data.” Appx. at 43a ¶ DD. But that argument is exactly what the

Cunningham release prohibits. The whole point of this provision was to establish once and for

all the accuracy of FedEx’s leave records (after FedEx dedicated significant time, effort, and

expense to compile them, and then class members were allowed to supplement them), and thus to

foreclose challenges precisely like the challenge Plaintiff makes here. See In re Prudential Ins.

Co. of Am. Sales Prac. Litig., 261 F.3d 355, 366 (3d Cir. 2001) (noting parties are permitted “to

enter into comprehensive settlements that prevent relitigation of settled questions at the core of a

class action” (quotations omitted)). Because Plaintiff’s claim requires him to prove what the

Cunningham release prohibits, his claim is barred.




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       Even if Plaintiff is not barred by the express terms of the Cunningham release, he should

still be barred from contesting FedEx’s records because he represented to this Court that FedEx’s

leave records are accurate. In response to FedEx’s motion to dismiss on laches, Plaintiff argued

that prejudice was lacking because “damages will focus on the leave class members took” and

leave “information is currently available.” Dkt. 36 at 19. The information Plaintiff referred to is

FedEx’s records from Cunningham: “in a 2019 settlement with a class of 4,093 reservists nearly

identical to the class here, FedEx produced comprehensive records on when its workers took

military leave since 1996 and used those records to calculate the class members’ damages.” Dkt.

36 at 19-20. The necessary implication is that these records were accurate and reliable—

otherwise, it would be manifestly unreasonable to suggest that this Court use them to determine

when class members took leave. But Plaintiff cannot have it both ways. He cannot argue against

laches on the ground that the Cunningham leave records can be used to establish when class

members took leave yet argue against summary judgment on the ground that the Cunningham

leave records are inaccurate. Plaintiff’s representation to the Court constitutes a “binding

judicial admission.” Berckeley Inv. Grp., Ltd. v. Colkitt, 455 F.3d 195, 211 & n.20 (3d Cir.

2006); see Elansari v. Ragazzo, 2021 WL 308138, at *4 (E.D. Pa. Jan. 29, 2021) (treating factual

assertion in opposition to motion to dismiss as judicial admission).

       Finally, because Plaintiff had every incentive and opportunity to contest FedEx’s records

in Cunningham but instead elected to participate in the Cunningham settlement based on those

records, Plaintiff should be barred by the equitable doctrine of waiver from challenging their

accuracy now. By participating in and receiving the benefits of the Cunningham settlement and

choosing not to contest FedEx’s records when afforded the opportunity, Plaintiff knowingly and

voluntarily waived his right to challenge those records. See, e.g., 28 Am. Jur. 2d Estoppel and




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Waiver § 187 (discussing waiver); United States v. Olano, 507 U.S. 725, 733 (1993) (waiver is

the “intentional relinquishment or abandonment of a known right”).

          FedEx’s records show that Plaintiff did not take “short-term military leave” during the

relevant period. That should be the end of the matter. 4

II.       PLAINTIFF’S CLAIM IS BARRED BY LACHES

          Plaintiff, however, now asserts that FedEx’s leave records are not “reliable.” Appx. at

256a 202:8-15; see also SUMF ¶ 22. Specifically, he contends that he took “short-term military

leave” in 2009 and 2010. Appx. at 279a 297:8-14; see also SUMF ¶ 22. But if Plaintiff is

permitted to challenge FedEx’s leave records—which he should not be for the reasons detailed

above—then the undisputed facts obtained in discovery demonstrate that his claim is barred by

laches.

          Laches is an available defense under USERRA, and it should be resolved “early in

litigation, so … prejudice may be avoided, and judicial resources may be conserved.” Travers,

2021 WL 4860737, at *7 (quotations and brackets omitted). Laches consists of two elements:

inexcusable delay and prejudice. Id. at *5-7. This Court held at the dismissal stage that it could

not resolve FedEx’s laches defense on the pleadings; evidence was required. Id. at *7. It thus

instructed the parties “to conduct discovery regarding FedEx’s laches defense … with the hope

we may promptly resolve [it].” Id. FedEx diligently conducted that discovery, and the

summary-judgment record now confirms that Plaintiff’s claim is barred by laches.



4
  Because Plaintiff has failed even to establish that he took a “short-term military leave” during the relevant time,
FedEx does not address the merits of his claim—i.e., that military leave and jury-duty, sick, and bereavement leave
are not comparable, and that paid leave is not a benefit as defined in the relevant FedEx policies. See, e.g., Clarkson
v. Alaska Airlines, Inc., 2021 WL 2080199 (E.D. Wash. May 24, 2021) (granting summary judgment on
comparability); Hoefert v. Am. Airlines, Inc., 438 F. Supp. 3d 724 (N.D. Tex. 2020) (same); Moss v. United Airlines,
Inc., 420 F. Supp. 3d 768 (N.D. Ill. 2019) (same). FedEx reserves the right to move for summary judgment on these
non Plaintiff-specific issues should Plaintiff somehow establish that he actually took “short-term military leave”
during the relevant time.


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        A.       Plaintiff Inexcusably Delayed Filing Suit By 23 Years

        Plaintiff first took “short-term military leave” from FedEx in the summer of 1996.

SUMF ¶ 4. FedEx has had the same military leave policy since 1996: it does not provide paid

military leave. See id. ¶ 5; see also id. ¶ 6. In fact, Plaintiff’s contract with FedEx included a

six-month contractual limitation period, see id. ¶ 8, and USERRA claims were subject to a four-

year statute of limitations at that time, see Middleton v. City of Chi., 578 F.3d 655,657-62 (7th

Cir. 2009), so Plaintiff was clearly on notice that he needed to assert his rights promptly. 5 Yet

Plaintiff did not bring suit until December 2019—23 years after he first took “short-term military

leave” from FedEx, 15 years after the beginning of the damages period in this case, and nearly a

decade after Plaintiff retired from the military.

        As the Court previously observed, Plaintiff’s “delay” in filing suit “appears unduly

lengthy,” Travers, 2021 WL 4860737, at *7, and many courts (including the Third Circuit)

confronted with “evidence” of similarly-lengthy delays have found them inexcusable under

USERRA and its predecessor statutes, id. at *6 n.56 (collecting cases); see Maher v. City of Chi.,

547 F.3d 817, 822 (7th Cir. 2008) (11-year delay in bringing VRRA claim unreasonable); Gruca,

495 F.2d at 1259 (nine-year delay unreasonable as a matter of law under USERRA predecessor

statute); Carmalt v. Gen. Motors Acceptance Corp., 302 F.2d 589, 591 (3d Cir. 1962) (delay of

17 years was “ridiculous” under original USERRA predecessor statute and noting the “numerous

decisions” holding that such claims “must be brought promptly or be barred by laches”); Corbin

v. Sw. Airlines, Inc., 2019 WL 3766580 (S.D. Tex. Aug 9, 2019) (USERRA claim barred by

laches after 10-year delay).



5
 The six-month contractual limitations period would bar any claims before April 2008 (six months before Congress
amended USERRA to eliminate a statute of limitations defense). But because Plaintiff does not claim to have taken
“short-term military leave” before then, FedEx does not assert the contractual limitations period here.


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        Discovery has now confirmed that Plaintiff has no valid excuse for waiting decades to

bring his claim. Plaintiff testified that he did not file suit after his 2001 military leave because “it

really didn’t cross [his] mind” and he “was too busy.” Appx. at 234a 115:2-6; see also SUMF ¶

7. Instead of researching his claims or talking to an attorney, he “just took it that if FedEx

doesn’t pay you, they don’t pay you. That’s the way it goes at the military.” Appx. at 234a

115:7-9. Those are not valid excuses—and anyway, they do not explain why Plaintiff waited ten

years to file suit after the alleged leaves in 2009 and 2010 at issue here. See Miller, 281 F.3d at

653 (plaintiff bears burden to justify delay); supra at 6 n.3.

        “Clarity of the violation or uncertainty of the law are not factors which operate to excuse

a party’s delay.” Gruca, 495 F.2d at 1259; see Sumrall v. Ensco Offshore Co., 2018 WL

2088761, at *8 (S.D. Miss. May 7, 2018). Instead, courts typically excuse a party’s delay only

when they were either unable to discover the facts giving rise to their claims, see, e.g., S3

Graphics Co. v. ATI Techs., ULC, 2015 WL 7307241, at *18 (D. Del. Oct. 21, 2015) (“The time

frame for a laches determination begins to run when evidence of the alleged wrong is discovered

or could have been discovered had reasonable diligence been exercised.” (quotations and

alteration omitted)), or were for some reason unable to file suit, see, e.g., Gruca, 495 F.2d at

1259–60 (delay may be excused by “concealment, misrepresentation, unfulfilled promises or any

other inequitable conduct on the part of [defendant]”). Nothing remotely like that happened

here. Plaintiff has known since 1996 that FedEx did not provide paid military leave. See Appx.

at 217a 46:22-47:3; id. at 231a-32a 105:5-10, 105:20-106:7; see also SUMF ¶ 6. And he has no

valid excuse whatsoever for waiting decades to commence this litigation. Nor could there be

one: absent inequitable conduct by FedEx (and there is none), it is manifestly unreasonable to

wait decades to assert one’s rights.




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         B.     Plaintiff’s Delay Prejudiced FedEx

         Given Plaintiff’s delay, only a minimal showing of prejudice is required to justify

granting summary judgment based on laches. See The USERRA Manual § 8.6 (“The longer the

delay, the less prejudice the defendant need[s] to show”). Here, there is substantial evidentiary

and economic prejudice.

         Evidentiary prejudice. “Evidentiary prejudice may arise from a defendant’s inability to

present a full and fair defense on the merits because of the loss of records, the death of a witness,

or the unreliability of memories of long past events, thereby undermining the court’s ability to

judge the facts.” Kepner-Tregoe, Inc. v. Exec. Dev., Inc., 79 F. Supp. 2d 474, 491 (D.N.J. 1999),

aff’d, 276 F.3d 577 (3d Cir. 2001); see also, e.g., Corbin, 2019 WL 3766580, at *4 (USERRA

case).

         The prejudice here is obvious. FedEx’s records show that Plaintiff did not take “short-

term military leave” during the relevant period. See SUMF ¶ 9. Plaintiff says he did, and he

accuses FedEx of “[un]reliable” recordkeeping. Appx. at 256a 202:8-15; see also SUMF ¶ 22.

But the passage of time precludes FedEx from presenting a full defense because FedEx has no

basis to confirm its records from more than a decade ago. Indeed, even if Plaintiff could provide

proof of the dates he performed military service—which he has failed to do thus far—FedEx

lacks the records necessary to determine, for example, whether he told his supervisors he was

taking leave to perform service. See, e.g., SUMF ¶ 24; see also Appx. at 99a-102a; id. at 103a-

106a. After all, Plaintiff’s former supervisors have no recollection of when he took military

leave or for how long—which is unsurprising, given that the leaves in question allegedly

occurred in 2009 and 2010. See SUMF ¶ 26; see also Maher, 547 F.3d at 822–23 (“[D]ue to ...

lack of memory, the City was prejudiced by Maher’s delay in filing suit.”); Beech v. FV

Wishbone, 113 F. Supp. 3d 1203, 1221 (S.D. Ala. 2015) (“Had plaintiffs timely and diligently


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pursued such claims, Skipper’s Landing could have obtained their deposition testimony before

plaintiffs’ memories faded and before plaintiffs’ records, invoices and receipts were destroyed or

lost. ... That fact constitutes prejudice for purposes of the laches analysis.”).

        FedEx’s inability to corroborate the accuracy of its leave records (apart from the

Cunningham settlement mechanism, supra at 3-5), is reason enough to find prejudice. But

Plaintiff’s own testimony provides another reason to find prejudice: he, too, has lost critical

records and cannot remember when or for how long he took military leave. For instance,

Plaintiff insists that “the best way to determine whether or not FedEx employees took military

leave” would be to look at their military “orders.” Appx. at 256a 203:16-204:8. But because

Plaintiff has “been out [of the military] for over 10 -- 11 years now,” he no longer has them. Id.

at 204:14-22; see also id. at 229a 96:21-25 (“I moved multiple times over the years, and they

have been lost.”); Dkt. 74 at 1 (“Mr. Travers does not have comprehensive records in his

possession regarding his dates of service[.]”). This is thus an exemplary case for laches because

critical “records” have been “lost.” Jeffries v. Chi. Transit Auth., 770 F.2d 676, 680 (7th Cir.

1985) (prejudice where “[r]elevant employment and medical records have been destroyed . . . or

lost”); see also Heath v. City of Philadelphia, 2021 WL 2661520, at *4 (E.D. Pa. June 29, 2021)

(noting “prejudice inherent in meaningfully litigating old claims with inaccessible evidence”);

Corbin, 2019 WL 3766580, at *5 (finding prejudice in USERRA case where records did not

show whether or not the plaintiff “asked for reemployment”).

        Plaintiff’s “unsuccessful” effort to request his lost records from the military provides

further proof—and also confirms his overall lack of diligence in pursuing his rights. Despite the

fact that FedEx brought this issue to Plaintiff’s attention in March 2020, see SUMF ¶ 28,

Plaintiff did not request his records from the NPRC until November 2021, see id. ¶ 29. But then,




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on January 13, 2022, the NPRC wrote Plaintiff that it was “unsuccessful in identifying a military

service record for” Plaintiff. Appx. at 91a-92a; see also SUMF ¶ 30. Similarly, Plaintiff waited

until December 2021 to subpoena DOD, see Dkt. No. 74, and then waited until the last possible

day—the close of discovery—to inform the Court that the DOD had not produced responsive

documents and move for an extension of the discovery deadline to file a motion to compel. See

Dkt. Nos. 90, 92. On Monday, February 28 (the day before this Motion was due), Plaintiff’s

counsel informed FedEx that DOD also appears not to have relevant documents: in response to

Plaintiff’s subpoena, DOD “produced documents that were neither responsive to the subpoena

nor relevant to the claims in this case.” Appx. at 144a; see also SUMF ¶ 33.6

         That leaves Plaintiff’s decades-old recollections, but they are equally unreliable—and

Plaintiff’s delay has prejudiced FedEx’s ability to defend against them for all the reasons just

explained. In fact, Plaintiff cannot even remember when he performed service or for how long.

See SUMF ¶ 23. Knowing both is necessary to determine FedEx’s liability. When Plaintiff

served matters because if his service spanned days when he was not scheduled to work (like a

holiday), he would not be entitled to compensation. FedEx does not pay employees on sick,

jury-duty, or bereavement leave for days they are not scheduled to work, see SUMF ¶¶ 34-35, so

Plaintiff would not have been denied a benefit that employees receive on allegedly comparable

leaves if he was not scheduled to work during his military service. The length of service matters

for similar reasons. Plaintiff ordinarily did not work on Saturdays or Sundays. See SUMF ¶ 2;



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 Even if the NPRC or DOD had produced Plaintiff’s records, it would not matter. The focus is not on Plaintiff’s
ability to prove his claims (he can’t), but on FedEx’s ability to defend against them, and Plaintiff’s delay precludes
FedEx from mounting a meaningful defense by, for example, proving that Plaintiff was not scheduled to work when
he performed service or failed to inform his supervisors that he was taking leave. But the absence of these records,
and Plaintiff’s lack of diligence in requesting them, simply provide even further proof of laches. The only relevant
military record Plaintiff possesses is his Annual Statement of Service History, but that document raises more
questions than it answers. It does not show when he performed military service, and his alleged 2010 service is
completely missing because the document only runs through January 1, 2010. See Appx. at 125a-26a.


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supra at 3 n.1. If his service lasted, for example, 15 days, there would be no way to determine

whether he missed 10 days of work from FedEx or 11. (If the leave started on a Saturday and

ran to Saturday, he would only miss 10). See Appx. at 239a 134:8-12. And the length of service

is especially important if the Court defines “short-term military leave” as 14 days or less,

because Plaintiff would not be entitled to any compensation if his leave lasted for 15 days or

more.

        Economic Prejudice. “Economic prejudice arises where a defendant suffers the loss of

monetary investments or incurs damages which would have been prevented if the plaintiff had

filed suit earlier.” Tenneco Auto. Operating Co. v. Visteon Corp., 375 F. Supp. 2d 375, 381 (D.

Del. 2005). FedEx has been economically prejudiced by Plaintiff’s delay in two key ways.

        First, Plaintiff’s lack of diligence denied FedEx the opportunity to minimize or eliminate

its liability. Plaintiff’s theory is that if an employer provides paid civilian leave, USERRA

§ 4316(b) obligates it also to provide a commensurate amount of paid military leave. See

Travers v. Fed. Exp. Corp. (3d Cir. No. 20-2703), Plaintiff-Appellant’s Reply Brief at 19. So,

for example, “if an employer gives five days of paid sick leave per year, and sick leave is

deemed comparable to military leave, the employer must [also] give five days of paid military

leave.” Id. Under Plaintiff’s theory, then, an employer could minimize or eliminate the amount

of paid military leave it was required to pay by “leveling down,” e.g., by providing less sick

leave or none at all. As Plaintiff told the Third Circuit, “[t]he choice is theirs.” Id. But by

delaying suit for decades, Plaintiff denied FedEx that very “choice”—and thus caused FedEx’s

damages to mount exponentially.

        Had Plaintiff prevailed on his theory in 2004, for example, FedEx could have chosen to

provide only three days of sick leave—thus reducing its paid military leave obligation and




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damages by 40%. Or it could have chosen not to provide paid jury duty leave in states that do

not require it, which would have eliminated any obligation to provide paid military leave on

Plaintiff’s theory. Plaintiff’s delay “impair[ed FedEx’s] ability to correct the wrong,” and thus

caused “potential damages on the claim to mount and increase.” 27A Am. Jur. 2d Equity § 153;

cf. Gruca, 495 F.2d at 1260 (finding prejudice where delay caused defendant to “spend money in

excess of nine years”).

       Second, Plaintiff’s delay exposed FedEx to two decades worth of liquidated damages

liability to thousands of its employees. FedEx denies that liquidated damages are available or

that class treatment is appropriate, but this massive potential liability—that could have been

avoided by a simple change in policy—is seriously prejudicial to FedEx. See Minn. Mining &

Mfg. Co. v. Beautone Specialties Co., 82 F. Supp. 2d 997, 1004 (D. Minn. 2000) (exposure to

treble damages); Warner v. Sun Ship, LLC, 2012 WL 1521866, at *3 (E.D. Pa. Apr. 30, 2012)

(plaintiff stipulated not to seek double damages to avoid finding of prejudice). Like any

defendant, this massive threat of liability shapes how FedEx litigates this case. See AT&T

Mobility LLC v. Concepcion, 563 U.S. 333, 350 (2011) (“Faced with even a small chance of a

devastating loss, defendants will be pressured into settling questionable claims.”). Plaintiff is

also likely to seek significant “prejudgment interest and tax gross ups, costs that might otherwise

have been avoided by an earlier suit.” Corbin, 2019 WL 3766580, at *6 (quotations omitted).

                                         CONCLUSION

       For these reasons, the Court should grant FedEx’s motion for summary judgment.

 Dated: March 1, 2022                                 /s/ Ryan T. Becker
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                                  CERTIFICATE OF SERVICE


          I hereby certify that, on March 1, 2022, I electronically filed the foregoing document with

the Clerk of Court via CM/ECF which will send notification of such filing to all counsel of

record.


                                                       /s/ Ryan T. Becker
                                                       Ryan T. Becker




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